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   8                            UNITED STATES DISTRICT COURT
   9                           CENTRAL DISTRICT OF CALIFORNIA
  10
          BALMORE PRUDENCIO, AND                    Case No. 2:18-cv-01469-AB-RAO
  11      MICHELLE QUINTERO, individually
          on behalf of themselves and all others
  12
          similarly situated, and John Does (1-100) Assigned to: Hon. André Birotte, Jr.
  13      on behalf of themselves and all others
          similarly situated,
  14
                                                    Memorandum of Law in
  15                    Plaintiffs,                 Opposition to Defendant’s Motion
                                                    to Dismiss Plaintiffs’ Second
  16
                                                    Amended Complaint
                        v.
  17

  18      Midway Importing, Inc. and Grisi, USA,                  Date:           December 14, 2018
  19      LLC,                                                    Time:           10:00 AM
  20
                                                                  Ctrm:           7B
  21                       Defendants.
  22                                                              Complaint Filed: February 22, 2018
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   1     I.       INTRODUCTION
   2          Defendants Midway Importing, Inc. (“Midway”) and Grisi USA, LLC (“Grisi
   3 USA”) distribute and market a line of soap that is described prominently as “Natural

   4 soap” on the front of the packaging. But the soap is not “natural.” It contains

   5 titanium dioxide, sodium lauryl sulfate, and calcium carbonate. These ingredients

   6 are chemicals which no reasonable consumer would consider “natural.”

   7          Plaintiffs are California purchasers of the soap and allege that they relied on
   8 and were misled by the “natural” representation when they bought the soap.
   9 Plaintiffs assert claims under the consumer protection laws of California, and seek

  10 to represent a national class of consumers.

  11          In its August 8, 2018 Order (“Order”) dismissing the First Amended
  12 Complaint (Dkt. 11, “FAC”) the Court held that Plaintiffs’ allegations did not

  13 adequately connect Midway to the deceptive labels. (Dkt. 30 at 3.). Plaintiff’s

  14 Second Amended Complaint (Dkt. 34, “SAC”) cures this deficiency by naming a

  15 second defendant, Grisi USA, and alleges that the Defendants operate a common

  16 enterprise which is responsible for the marketing of Grisi products in the United

  17 States, including the “natural” labeling of the Products. These allegations are

  18 supported by published statements from directors and employees of Defendants

  19 describing their role in the marketing and advertising of the Products.

  20          Defendants also argue that this court lacks specific jurisdiction over the
  21 claims of unnamed class members who do not reside in California. This Court

  22 should follow the vast majority of federal courts throughout the country that have

  23 held that the Supreme Court’s decision in Bristol-Myers Squibb does not apply to

  24 federal class actions.

  25          Next, Defendants challenge Plaintiffs’ standing to bring claims on behalf of
  26 consumers in other states. However, Plaintiffs have asserted that they were injured

  27 by paying a price premium for the Products. Those allegations are all that is required

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    1 to satisfy standing under Article III. Whether Plaintiffs may represent consumers

    2 outside California is a question that courts in this Circuit agree is properly answered

    3 at the certification stage.

    4         Defendants raise a hodgepodge of other argument in an effort to have
    5 Plaintiffs’ claims dismissed. For the reasons below, these arguments also fail.

    6     II. ARGUMENT
    7             A. Plaintiffs Have Sufficiently Alleged that the Defendants are
    8             Responsible for The Deceptive Labels at Issue in the Case
    9         In dismissing the FAC, the Court held that Plaintiffs did not “link Defendant to
   10 the    marketing and Promotion of [the Products], let alone the ‘natural’
   11 misrepresentations on their boxes.” Order at 4. The SAC cures that deficiency by

   12 adding significant detail regarding the advertising and marketing operations of

   13 Defendants and their connection to the manufacturer of the Products. SAC ¶¶ 12-21.

   14         The SAC alleges that the Defendants authorized the deceptive “natural”
   15 labeling for the Products at issue in this case. Id at ¶¶ 15 and 16. Unlike the allegations

   16 in the cases cited by Defendant , these assertions are not premised solely upon
                                     1


   17 information and belief, but rather, are well-supported by additional facts.

   18         First, Plaintiffs allege that the Defendants Midway and Grisi USA work
   19 together to serve as the U.S. marketing and advertising wing of Grisi Hnos SA De CV

   20 (“Grisi”), the Mexican company that manufactures the Products. Id at ¶¶ 14 and 18.

   21 Specifically, Plaintiffs allege that Grisi USA is a subsidiary of Grisi, and that Grisi

   22 acquired 51% of Midway in 2013 in order to have greater control of the marketing of

   23 its products in the United States. Id at ¶14 and 18. The Midway website itself

   24 describes its role as providing a “distribution support strategy that includes marketing

   25 & promotions . . .”. Id at ¶ 13. Midway and Grisi USA also employ business

   26         1
              Tortilla Factory, LLC v. Better Booch, LLC, No. 2:18-cv-02980-CAS(SKx); 2018 U.S.
   27 Dist. LEXIS 156617 (C.D. Cal. Sept. 13, 2018); In re Hydroxycut Mktg. & Sales Practices Litig.,
      299 F.R.D. 648 (S.D. Cal., 2014).
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    1 managers who are responsible for the marketing of Grisi Products in the United States.

    2 Id at ¶ 21.

    3        Second, Plaintiffs allege that the Defendants are responsible for the “natural”
    4 labeling on the Products at issue in this case. Id at ¶¶ 15 and 16. This allegation is

    5 supported by statements by employees of Grisi and the Defendants themselves.

    6 Mauricio Alvarez, Director of Planning for Grisi, described the role of Midway as

    7 marketing soaps and beauty products in the United States. Id at ¶19, fn. 2.                        Oliver
    8 Pegueros, a Business Manager at Grisi USA and Midway described his role as
    9 overseeing all marketing aspects of Grisi brands in the United States. Id at ¶ 20.

   10        At this stage of the case, where no discovery has been taken and Plaintiffs’
   11 allegations must be taken as true, these allegations are sufficient to “allow the court

   12 to draw a reasonable inference that the defendant is liable for the misconduct alleged.”

   13 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Moreover, because Defendants are

   14 responsible for the labeling, they will be in a position to remove or clarify the

   15 “natural” representation should the Court grant injunctive relief.

   16        Nor, as Defendants suggest, do Plaintiffs claims fail simply because they do
   17 not distinguish each Defendant’s specific conduct. Swartz v. KPMG LLP, 476 F.3d

   18 756, 764 (9th Cir. 2007) (“There is no absolute requirement that where several

   19 defendants are sued in connection with an alleged fraudulent scheme, the complaint

   20 must identify false statements made by each and every defendant.”). The SAC alleges

   21 that the Defendants share employees and ownership and work jointly in marketing

   22 and advertising Grisi products in the United States, and that are both responsible for

   23 authorizing the misleading labels. SAC at ¶¶ 15-17, 19-20.

   24        The SAC therefore does not simply "lump" Defendants together, as Defendants
   25 argue. Def Mem. 7. Instead, it "satisfies the requirements of Rule 8(a) because it

   26 gives [Defendants] fair notice of the basis for [Plaintiffs'] claims." Swierkiewicz v.

   27 Sorema N.A., 534 U.S. 506, 514, 122 S. Ct. 992, 152 L. Ed. 2d 1 (2002); see also

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    1 Hudak v. Berkley Grp., Inc., No. 13-CV-89, 2014 U.S. Dist. LEXIS 8168, * 10-11

    2 (D. Conn. Jan. 23, 2014) ("Nothing in Rule 8 prohibits collectively referring to

    3 multiple defendants where the complaint alerts defendants that identical claims are

    4 asserted against each defendant.").

    5             B. Plaintiffs Have Standing to Pursue Their Claims and This Court
                  Has Jurisdiction Over the Claims
    6

    7
                      1.   This Court has Specific Personal Jurisdiction Over the
    8                 Claims of Non-Resident Class Members
    9         Defendants argue, as Midway did in its prior motion to dismiss, that this Court
   10 lacks specific personal jurisdiction over them for the claims of non-California
                                          2


   11 residents. The U.S. Supreme Court addressed this issue in Bristol-Myers Squibb Co.,

   12 v. Superior Court of California, San Francisco, 582 U.S. ___, 137 S. Ct. 1773 (2017)

   13 in the context of mass torts in state court, but left the jurisdictional issue open with

   14 respect to class actions, see 137 S. Ct. at 1789 n.4 (Sotomayor, J. dissenting), and with

   15 respect to federal court as opposed to state court, id. at 1783-84.

   16         As made clear by Justice Sotomayor, at no point did the Bristol-Myers Court
   17 consider the applicability of the settled principles of personal jurisdiction to absent

   18 class members or the impact of Rule 23. Bristol-Myers thus did not overturn the

   19
        Court’s holdings in Phillips Petroleum Co. v. Shutts, 472 U.S. 797 (1985) that (1) a
        “forum State may exercise jurisdiction over the claim of an absent class-action
   20
        plaintiff, even though that plaintiff may not possess the minimum contacts with the
   21
        forum which would support personal jurisdiction over a defendant,” id., and (2)
   22
        “individual members of a plaintiff class . . . need not satisfy the ‘minimum contacts’
   23
        test in order for [the] forum court to exercise personal jurisdiction of them,” a
   24
        conclusion reached “in large part upon the due-process protections provided by class-
   25
        action procedural requirements.” Id. at 811.
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   27         Plaintiffs do not argue that the Court has general jurisdiction over
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        Defendants.
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    1         The vast majority of Courts in this Circuit have held that Bristol-Myers does
    2 not apply to federal class actions. See Sloan v. General Motors, LLC., No. 16-cv-

    3 07244-EMC, 287 F. Supp. 3d 840, 861 (C.D. Cal. Feb 7, 2018) (concluding that

    4 Bristol-Myers does not apply to federal class actions); Alvarez v. NBTY, Inc., No. 17-

    5 cv-00567-BGS, 2017 U.S. Dist. LEXIS 201159 (S.D. Cal. Dec. 6, 2017) (holding that

    6 Bristol-Myers did not change the law with regard to personal jurisdiction over named

    7 plaintiffs and noting that Bristol-Myers was a state mass tort rather than a federal class

    8 action); Fitzhenry-Russell v.Dr. Pepper Snapple Group, Inc., No. 17-cv-00564 NC,
    9 2017 U.S. Dist. LEXIS 155654, *15 (N.D. Cal. Sep. 22, 2017) (“[T]he Supreme Court

   10 did not extend its reasoning to bar the nonresident plaintiffs' claims here, and Bristol-

   11 Myers is meaningfully distinguishable based on that case concerning a mass tort

   12 action, in which each plaintiff was a named plaintiff.”); In re Morning Song Bird Food

   13 Litig., Lead Case No. 12-cv-01592-JAH-AGS, 2018 U.S. Dist. LEXIS 44825, at *16

   14 (S.D. Cal. Mar. 19, 2018) (finding Bristol-Myers did not deprive court of jurisdiction

   15 over non-resident plaintiffs in class action); Thomas v. Kellogg Co., Case No. C13-

   16 5136-RBL, 2017 U.S. Dist. LEXIS 171734, at *4 (W.D. Wash. Oct. 17, 2017) (same);

   17 Ciuffitelli v. Deloitte & Touche LLP, 2018 U.S. Dist. LEXIS 163237, *75 (D. Or.

   18 Aug. 1, 2018) (same).

   19         District courts throughout the country have reached the same conclusion. See
   20 e.g., Molock v. Whole Foods Mkt., Inc., Case No. 16-cv-02483 (APM), 2018 U.S.

   21 Dist. LEXIS 42582, at *21 (D.D.C. Mar. 15, 2018) (Bristol-Myers “does not require

   22 a court to assess personal jurisdiction with regard to all non resident putative class

   23 members.”); Casso's Wellness Store & Gym, L.L.C. v. Spectrum Lab. Prods., NO. 17-

   24 2161, 2018 U.S. Dist. LEXIS 43974, *13 (March 19, 2018, E.D. La.) (concluding that

   25 “The court finds that the material differences between mass tort actions and class

   26 actions further support the finding that Bristol-Myers is inapplicable to the instant

   27 case, a purported class action invoking federal question subject matter jurisdiction.”);

   28

                                                           5
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    1 Tickling Keys, Inc. v. Transamerica Fin. Advisors, Inc., No. 6:17-cv-1734-Orl-

    2 37KRS, 2018 U.S. Dist. LEXIS 79578, * 15 (M.D. Fla. Apr. 4, 2018) (declining to

    3 apply Bristol-Myer in the class-action context); Day v. Air Methods Corp., No. 5:17-

    4 183-DCR, 2017 U.S. Dist. LEXIS 174693 (E.D. Ky. Oct. 23, 2017) (declining to

    5 extend Bristol-Myers to a wage and hour class action suit because “the inquiry for

    6 personal jurisdiction lies with the named parties of the suit asserting their various

    7 claims against the defendant, not the unnamed proposed class members.”), Harrison

    8 v. General Motors Company, No. 17- 3128-Cv-S-SRB (W.D. Mo. Sept. 25, 2017)
    9 (“the Court finds no language in Bristol-Myers requiring or even compelling

   10 extension of the holding to class actions . . . it is unclear whether Bristol-Myers even

   11 applies to federal courts”); Sanchez v. Launch Tech. Workforce Sols, LLC, No. 1:17-

   12 cv-1904-ELR-AJB, 2018 U.S. Dist. LEXIS 28907, at *9-11 (N.D. Ga. Jan. 26, 2018)

   13 (same), adopted at 2018 U.S. Dist. LEXIS 28905 (N.D. Ga. Feb. 14, 2018).

   14         Many of these cases have adopted the reasoning of the court’s holding in In re
   15 Chinese-Manufactured Drywall Products Liability Litigation, MDL No. 09-2047,

   16 2017 U.S. Dist. LEXIS 197612 (E.D. La. Nov. 30, 2017), which examined three major

   17 differences between state mass torts and federal class actions. First, the court noted

   18 that “[i]n a mass tort action, like the one in [Bristol-Myers], each plaintiff was a real

   19 party in interest to the complaints, meaning that they were named as plaintiffs in the

   20 complaints. A class action, on the other hand, generally involves one or more

   21 plaintiffs who seek to represent the rest of the similarly situated plaintiffs.” Chinese

   22 Drywall, 2017 U.S. Dist. LEXIS 197612, at *32. Even a cursory review of Bristol-

   23 Myers shows that it did not disturb the settled principle that “in the context of a class

   24 action, it is the named plaintiff’s claim that must arise out of or result from the

   25 defendant’s forum-related activities, not the claims of the unnamed members of the

   26 proposed class, who are not party to the litigation absent class certification.” Chernus

   27 v. Logitech, Inc., Civil Action No. 17-673(FLW), 2018 U.S. Dist. LEXIS 70784, at

   28

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    1 *10 (D.N.J. Apr. 27, 2018) (internal quotations omitted) (collecting cases); see also,

    2 e.g., BMS, 137 S. Ct. at 1781 (“Our settled principles regarding specific jurisdiction

    3 control this case.”). Both of the named Plaintiffs in this case purchased the Products

    4 in California.3 SAC. ¶¶ 8 and 10. Thus, there is no question that this Court has

    5 jurisdiction over their claims.

    6         Second, Chinese Drywall noted that class actions are subject to additional due
    7 process safeguards which mass torts are not, namely the rigorous requirements for

    8 certification under Rule 23. Chinese Drywall, at *37. By requiring that class plaintiffs
    9 demonstrate commonality, typicality, adequacy of representation, predominance, and

   10 superiority, Rule 23 alleviates any burdens on the defendant that come with having to

   11 defend multiple claims in a single forum and protects the fairness of the litigation,

   12 which is the fundamental purpose of due process. Id. at *37-40.

   13         Third, the federalism concerns that drove the holding in Bristol-Myers are not
   14 present in federal court. See Chinese Drywall, * 55-56 (“In this case, federalism

   15 concerns do not apply. [Bristol-Myers] is about limiting a state court's jurisdiction

   16 when it tried to reach out-of-state defendants on behalf of out-of-state plaintiffs in a

   17 mass action suit. That scenario is inapplicable to nationwide class actions in federal

   18 court . . .”). As the Supreme Court explained, “restrictions on personal jurisdiction are

   19 more than a guarantee of immunity from inconvenient or distant litigation. They are

   20 a consequence of territorial limitations on the power of the respective States.” Bristol-

   21 Myers, 137 S. Ct. 1773 at 1780 (internal quotations omitted) But, such federalism

   22 concerns are inapplicable in federal court. See, e.g., Pinker v. Roche Holdings Ltd.,

   23 292 F.3d 361, 369 (3d Cir. 2002) (“a federal court sits as a unit of the national

   24 government and, therefore, the territorial limitations that apply to the exercise of

   25 state court jurisdiction…are inapposite.”).

   26         3
              On August 21, 2018, the parties stipulated to dismiss the claims of Nicky Rivera, a New
   27 York resident who was previously a named plaintiff in this case, and the Court issued an order
      accordingly. (Dkts. 29 and 33).
   28

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    1         Indeed, the Supreme Court expressly “le[ft] open the question whether the Fifth
    2 Amendment imposes the same restrictions on the exercise of personal jurisdiction by

    3 a federal court,” Bristol-Myers, 137 S. Ct. at 1783-84. And, courts have declined to

    4 extend Bristol-Myers to federal cases based on this distinction. Sloan, 287 F. Supp.

    5 3d at 858 (N.D. Cal. Feb. 7, 2018) (“In contrast to Bristol-Myers, the due process right

    6 does not obtain here in the same manner because all federal courts, regardless of

    7 where they sit, represent the same federal sovereign, not the sovereignty of a foreign

    8 state government.”); Harrison, No. 17- 3128-Cv-S-SRB, at 12 (W.D. Mo. Sept. 25,
    9 2017) (“Bristol-Myers concerned the due process limits of specific jurisdiction by a

   10 State”).

   11         The decisions that take an opposing view of the differences between state mass
   12 torts and federal class actions in the context of personal jurisdiction are outliers and

   13 are largely limited to the Northern District of Illinois. See LDGP, LLC v. Cynosure,

   14 Inc. No 15 C 50148, 2018 U.S. Dist. LEXIS 6481 (N.D. Ill. Jan 16, 2018) and

   15
        McDonnell v. Nature’s Way Prods., LLC, No. 16C 5011, 2017 U.S. Dist. LEXIS
        177892 (N.D. Ill. Oct. 26, 2017). See Chernus, 2018 U.S. Dist. LEXIS 70784, at *19
   16
        (“On one hand, courts in the Northern District of Illinois have uniformly determined
   17
        that [Bristol-Myers] applies with equal force in the class action context. On the other
   18
        hand, most of the courts that have encountered this issue have found that [Bristol-
   19
        Myers] does not apply in the federal class action context.”) (internal quotations and
   20
        citations omitted).
   21
              However, even courts in the Northern District of Illinois have now begun
   22
        rejecting the argument that Bristol-Myers requires dismissal of out-of-state absent
   23
        class members’ claims. See, Al Haj v. Pfizer Inc., No. 17 C 6730, 2018 U.S. Dist.
   24
        LEXIS 130249, at *3 (N.D. Ill. Aug. 3, 2018) (disagreeing with LDGP and
   25
        McDonnell and noting “In this court’s view, the first set of decisions [rejecting
   26
        Defendants’ argument] has it right.”)               This Court should join the considerable
   27
        majority of courts that reject Defendants’ position.
   28

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    1         Further, the rationale underlying the other cases cited by Defendants does not
    2 apply in this case. For example, In re Samsung Galaxy Smartphone Mktg. & Sales

    3 Practices Litig., No. 16-cv-06391-BLF, 2018 U.S. Dist. LEXIS 54850 (N.D. Cal.

    4 Mar. 30, 2018), is inapposite because there the court held that it did not have personal

    5
        jurisdiction over the claims of a Maryland named plaintiff when the court did not have
        general jurisdiction over the Korean defendant. See id. at *6. The court did not
    6
        address the key question here of whether it had personal jurisdiction over claims made
    7
        on behalf of absent class members.
    8
              The court in Spratley v. FCA US LLC, No. 3:17-cv-0062, 2017 LEXIS 147492
    9
        (N.D.N.Y. Sept. 12, 2017), held that the court lacked jurisdiction over six out-of-state
   10
        named plaintiffs, and did not even address whether a court would have jurisdiction
   11
        over the claims of unnamed class members. Id. at *19. Nor did Spratley discuss the
   12
        differences between class actions and mass torts and simply stated: “Similarly, in this
   13
        case, the out-of-state Plaintiffs have shown no connection between their claims and
   14 [defendant’s] contacts with New York. Therefore, the Court lacks specific jurisdiction

   15 over the out-of-state Plaintiffs' claims.” Id. Indeed, other courts have specifically

   16 declined to follow Spratley on these grounds. See, e.g., Sloan v. GM, LLC, 287 F.

   17 Supp. 3d at 859, fn. 3 (finding Spratley unpersuasive because it did not analyze the

   18 distinction between class-actions and mass torts); Sanchez, 2018 U.S. Dist. LEXIS

   19 28907, *15 n.9 (N.D. Ga. Jan. 26, 2018) (declining to follow Spratley because it

   20 “presume[es] that Bristol-Myers requires dismissal of non-residents class members'

   21 claims without explaining why Bristol-Myers would apply in a class-action suit”);

   22 Brotz v. Simm Assocs., No: 6:17-cv-1603-Orl-40TBS, 2018 U.S. Dist. LEXIS 176612,

   23 *4, 2018 (M.D.Fla. Oct. 15, 2018) (distinguishing Spratley because it dealt with
        jurisdiction over named plaintiffs as opposed to unnamed class members).
   24
              In short, the majority of Courts that have thoroughly analyzed the question have
   25
        concluded that Bristol-Myers does apply to federal class actions and that courts can
   26
        continue to exercise personal jurisdiction over the claims of non-resident class
   27
        members. Plaintiffs ask this Court to hold the same.
   28

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    1
                      2.    Whether Plaintiffs May Represent Out-Of-State Residents is
                      an issue for Class Certification
    2
              Defendants next argue that Plaintiffs lack standing to represent consumers in
    3
        other states. Def. Mem. at 19-20. In making this argument, Defendants conflate two
    4
        entirely distinct concepts: Article III standing and the requirements of Rule 23.
    5
              The Ninth Circuit, in the context of factual differences, recently clarified the
    6
        distinction: “Once the named plaintiff demonstrates her individual standing to bring
    7
        a claim, the standing inquiry is concluded and the court proceeds to consider whether
    8
        the Rule 23(a) prerequisites for class certification have been met.” Melendres v.
    9
        Arpaio, 784 F.3d 1254, 1262 (9th Cir. 2015), cert. denied, 136 S. Ct. 799 (2016).
   10
        The threshold for pleading Article III standing is not a high one. “It is well settled
   11
        that ‘general factual allegations of injury resulting from the defendant’s conduct may
   12
        suffice at the pleading stage.’ ” In re Toyota Motor Corp., 790 F.Supp.2d 1152, 1162
   13
        (C.D. Cal. 2011) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).
   14
              In this case, Plaintiffs have asserted more than only “general allegations.”
   15
        Plaintiffs have alleged an economic loss by purchasing Defendant’s soap at a premium
   16
        in reliance on the label which stated that it the soap is “Natural.” SAC ¶¶ 3, 32, 39,
   17
        42. Accordingly, Plaintiffs have adequately pleaded Article III standing.
   18
              The question of whether Plaintiffs may represent consumers in other states is a
   19
        different one. Plaintiffs are not seeking to apply the laws of other states to their
   20
        individual claims. Rather, they seek to represent those absent class members who do.
   21
        In asking the Court to dismiss claims brought under the laws in states in which
   22
        Plaintiffs do not live, Defendants are really asking the Court to rule on whether
   23
        Plaintiffs may represent a national, or even multistate, class. That question is
   24
        dependent on a full factual record, including what conduct by Defendants occurred in
   25
        California, and is appropriately addressed at the class certification stage, not the
   26
        pleading stage. See Estakhrian v. Obenstine, 320 F.R.D. 63, 77 (C.D. Cal. 2017)
   27
        (“‘[Defendant’s] arguments [regarding Plaintiff’s standing to represent absent class
   28

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    1 members] are ‘better taken under the lens of typicality or adequacy of representation,

    2 rather than standing[,]’” ((quoting Forcellati v. Hyland's, Inc., 876 F.Supp.2d 1155,

    3 1161-62 (C.D. Cal. 2012)). See also Bruno v. Quten Research Inst., LLC, 280 F.R.D.

    4 524, 530 (C.D. Cal. 2011) ("District courts in California routinely hold that the issue

    5 of whether a class representative may be allowed to present claims on behalf of others

    6 who have similar, but not identical, interests depends not on standing, but on an

    7 assessment of typicality and adequacy of representation. Treatises and other circuits

    8 reach the same conclusion.") (internal quotation marks and citations omitted);
    9 Greenwood v. Compucredit Corp., 2010 U.S. Dist. LEXIS 127719, *9 (N.D. Cal.

   10 2010) (discussing that "the appropriate question with respect to unnamed class

   11 members is not whether they have standing to sue but whether the named plaintiff

   12 may assert their rights" and concluding that "[a]lthough this question implicates the

   13 prudential function of the standing requirement, it finds legislative expression in the

   14 requirements of Rule 23 and is therefore a Rule 23 question, rather than one of

   15 standing") (internal quotation marks omitted).

   16          In support of its argument, Defendants cite Mazza v. American Honda Motor
   17 Co., 666 F.3d 581 (9th Cir. 2012) (Def. Mem. at 11). In the oft-cited Mazza case, the

   18 Ninth Circuit reversed the district court’s certification of a nationwide class based on

   19 its finding that California’s choice of law rules, applied specifically to the facts at

   20 issue, mandated application of the laws of the states in which the purchases occurred.

   21 However, the district court made its ruling at the class certification stage after an

   22 extensive record was created, and the Ninth Circuit took care to limit its reversal to

   23 “the facts and circumstances of this case.” Id. at 594. The Court also explicitly left

   24 open the possibility of considering subclasses “with different jury instructions for

   25 materially different bodies of state law.” 4              Accordingly, “[u]ntil the Parties have
   26
             4
               Defendants also cite this Court’s decision in Harris v. CVS Pharmacy, No. ED CV 13-
   27 02329, No. 13-02329, 2015 U.S. Dist. LEXIS 104101 (C.D. Cal. 2015), where the Court

   28 determined that the plaintiff, who purchased a product in California, did not have standing to bring

                                                           11
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    1 explored the facts in this case, it would be premature to speculate about whether the

    2 differences in various states' consumer protection laws are material in this case.”

    3 Forcellati, 876 F.Supp.2d at 1159.

    4          For these reasons, most California federal courts do not apply Mazza’s fact-
    5 specific class certification ruling to allegations at the pleading stage. See Fonseca v.

    6 Goya Foods, Inc., No. 16-civ-02559-LHK, 2016 U.S. Dist. LEXIS 121716, at *8

    7 (N.D. Cal. Sep. 8, 2016) (“This Court has consistently declined to apply Mazza at the

    8 motion to dismiss stage to strike nationwide class allegations.”) (emphasis added);
    9 Werdebaugh v. Blue Diamonds Growers, No. 12-civ-02724, 2013 U.S. Dist. LEXIS

   10 144178 at *56 n.9 (N.D. Cal. Oct. 2, 2013) (stating that “[t]his conclusion accords

   11 with the Court’s conclusion in [Brazil, infra], as well as the conclusions of numerous

   12 other courts within the Ninth Circuit, which have declined, even after Mazza, to

   13 conduct the choice of law analysis at the pleading stage”, and citing cases) (emphasis

   14 added); Forcellati, 876 F.Supp.2d at 1159 (“Courts rarely undertake choice-of-law

   15 analysis to strike class claims at this early stage in litigation.”) (emphasis added).

   16          Accordingly, the weight of authority in California federal courts favors waiting
   17 until class certification to undertake a choice of law analysis. See, e.g., Barber v.

   18 Johnson & Johnson Co., No. 8:16-civ-1954, 2017 U.S. Dist. LEXIS 53591 at *26

   19 (C.D. Cal. Apr. 4, 2017) (deferring choice of law analysis until discovery taken);

   20 Hoffman v. Fifth Generation, Inc., No. 3:2014-civ-02569, 2015 U.S. Dist. LEXIS

   21 65398 at *25 (S.D. Cal. Mar. 18, 2015) (declining to strike national class allegations

   22 and noting a thorough choice of law analysis must be undertaken before determining

   23 whether a national class can be certified); Rhinerson v. Van's Int'l Foods, Inc., No. 13-

   24 civ-05923, 2014 U.S. Dist. LEXIS 90471 at *2 (N.D. Cal. July 2, 2014) (“[S]triking

   25 the class allegations at the pleading stage would be premature”); Czuchaj v. Conair

   26
      claims under Rhode Island law. Def. Mem. at 10. However, unlike in Harris, Plaintiffs are not
   27 seeking to apply out of state law to their claims, only to represent similarly situated consumers.
      This issue is more appropriately addressed in the context of class certification.
   28

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    1 Corp., No. 13-civ-1901, 2014 U.S. Dist. LEXIS 54410 at *18-25 (S.D. Cal. Apr. 16,

    2 2014) (finding choice of law analysis premature at pleading stage and declining to

    3 dismiss national class claims); Swearingen v. Yucatan Foods, L.P., 24 F. Supp. 3d

    4 889 (N.D. Cal. Feb. 7, 2014) (propriety of national class question “not appropriate at

    5 pleading stage”); Werdebaugh, 2013 U.S. Dist. LEXIS 144178 at *55-56 (declining

    6 to strike national class claims at the pleading stage because choice of law

    7 determination should wait until class certification stage); Brazil v. Dole Food Co.,

    8 No. 12-civ-01831, 2013 U.S. Dist. LEXIS 136921, at *40 (N.D. Cal. Sep. 23, 2013)
    9 (concluding that striking class allegations at pleading stage would be “premature”);

   10 Grodzitsky v. Am. Honda 24 Motor Co., No. 2:12-civ-1142, 2013 U.S. Dist. LEXIS

   11 33387, at *32-33 (C.D. Cal. Feb. 19, 2013) (denying motion to strike nationwide class

   12 allegations where discovery had not yet commenced).

   13
                      3.   Plaintiffs Have Standing to Sue for Products They Did Not
   14
                      Purchase Because the Misrepresentations at Issue Are Identical
   15
              There is no question that Plaintiffs have Article III standing to assert claims
   16
        concerning the alleged misrepresentations on the specific products they purchased
   17
        themselves. Plaintiffs purchased the “Aloe Vera” and “Mother of Pearl” varieties of
   18
        soap, and not the “Oat” or “Donkey’s Milk” varieties. SAC at ¶¶ 8-11. However, all
   19
        four types claim to be “Natural soap” and display the “Natural soap” representation
   20
        prominently on the top right of each package. SAC ¶ 23 (pictures of packaging).
   21
              As in Defendant Midway’s Motion to Dismiss the First Amended Complaint
   22
        (Dkt. 18), Defendants contend that Plaintiffs lack Article III standing to represent
   23
        purchasers of the “Donkey’s Milk” and “Oat” soap. Def. Mem. at 21. But most courts
   24
        have found Article III standing where the products and claims at issue were
   25
        “substantially similar.” See Coleman Anacleto v. Samsung Elecs. Am., Inc., No. 16-
   26
        civ-02941, 2016 U.S. Dist. LEXIS 123455 at *26 (N.D. Cal. Sept. 12, 2016) (noting
   27
        “[t]he majority of the courts in this district and elsewhere in California reject the
   28

                                                           13
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    1 proposition that a plaintiff cannot suffer injury in fact based on products that the

    2 plaintiff did not buy.”); Dorfman v. Nutramax Labs., Inc., No. 13-civ-0873, 2013 U.S.

    3 Dist. LEXIS 136949 at *17-20 (S.D. Cal. Sept. 23, 2013) (surveying cases).

    4        Indeed, courts have found standing with respect to unpurchased products
    5 (sometimes referred to as “class standing”) even where the representations were more

    6 diverse than the identical “Natural soap” statements at issue here: see Hunter v.

    7 Nature’s Way Products, LLC, No. 16-civ-532, 2016 U.S. Dist. LEXIS 107092, at *41-

    8 43 (S.D. Cal. Aug. 6, 2016) (holding plaintiff could challenge unpurchased liquid
    9 coconut oil because the representations on the label, while different from those on the

   10 purchased product, conveyed a substantially similar message that the product was

   11 healthy); Dorfman, 2013 U.S. Dist. LEXIS 136949 at *21-22 (plaintiff has standing

   12 to pursue claims for supplements he did not buy because he “challenges the same type

   13 of supplements based on largely the same ingredients and representations.”); Chavez

   14 v. Blue Sky Natural Beverage Co., 268 F.R.D. 365, 378 (N.D. Cal. 2010) (plaintiff's

   15 claims are typical of the class where the allegedly false statement was "worded in

   16 several variations" but all products "bore substantially the same misrepresentation");

   17 Swearingen v. Late July Snacks LLC, No. 13-cv-04324-EMC, 2017 U.S. Dist. LEXIS

   18 170928, *16 (N.D. Cal. Oct. 16, 2016) (plaintiffs had standing to challenge

   19 unpurchased chip products because the non-purchased products were different flavors

   20 of the same Multigrain Snack Chips and all the products contained the same

   21 "evaporated cane juice" misrepresentation).

   22        The cases Defendants cite in support of their argument involve products which
   23 were very different or made different misrepresentations from the products which the

   24 plaintiff actually purchased. Def. Mem. at 7. For example, in Johns v. Bayer Corp.,

   25 No.09-cv-1935 DMS, 2010 U.S. LEXIS 10926 (S.D. Cal. Feb 9, 2010) the court held

   26 plaintiff lacked standing to assert claims on behalf of purchasers of a health

   27 supplement because the misrepresentation that the plaintiff relied on was not present

   28

                                                          14
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    1 at all on the unpurchased product. Similarly, in Carrea v. Dreyer's Grand Ice Cream,

    2 Inc., No. C 10-01044 JSW, 2011 U.S. Dist. LEXIS 6371 (N.D. Cal. Jan. 10, 2011)

    3 the plaintiff challenged two different ice-cream products with two entirely different

    4 representations: that its “Drumstick” ice cream products were and based upon “The

    5 Original,” and that its “Dibs” product contained “0 g Trans Fat.’5                          In Miller v.
    6 Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 869 (N.D. Cal. 2012), the court

    7 acknowledged “a plaintiff may have standing to assert claims for unnamed class

    8 members based on products he or she did not purchase so long as the products and
    9 alleged misrepresentations are substantially similar” but found that white chocolate

   10 and chocolate chips were different products and were labeled differently. Id. at 870-

   11 72. In Dysthe v. Basic Reasearch, LLC, No. CV 09-8013, 2011 U.S. Dist. LEXIS

   12 138028 (C.D. Cal. June 13, 2011) the weight loss supplements at issue had different

   13 formulations and touted different benefits. Finally, in Kane v. Chobani, Inc., No.: 12-

   14 CV-02425-LHK, 2013 U.S. Dist. LEXIS 134385, *37-38 (N.D. Cal. Sept. 19, 2013)

   15 the court held that the plaintiffs did not have standing as to unpurchased products

   16 because the plaintiff failed to allege “substantial similarity.”

   17         Here, in contrast to the cases cited by Defendants, each of the challenged
   18 Products are hand soap products which have the identical “Natural soap”

   19 representation. As a result, Plaintiffs have standing to assert claims against each of

   20 the challenged Products.

   21                 4.       Plaintiffs Have Standing to Sue for Injunctive Relief
   22             Defendants argue that Plaintiffs lack standing to pursue injunctive relief
   23 because they now know the truth about the Products and can no longer be deceived

   24 by the labeling. Def. Mem. at 20-21. The Ninth Circuit squarely addressed this

   25
              5
   26          See Hendricks v. StarKist Co., 30 F. Supp. 3d 917, 935 (N.D. Cal. 2014) (distinguishing
      Carrea and concluding that plaintiff had standing to pursue claims against a variety of types of
   27 canned tuna because the misrepresentations regarding the amount of tuna in the cans was similar
      across the purchased and unpurchased products).
   28

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    1 issue and resolved it in Plaintiffs’ favor last year:

    2

    3
                  We hold that a previously deceived consumer may have standing to seek an
                  injunction against false advertising or labeling, even though the consumer
    4             now knows or suspects that the advertising was false at the time of the
    5
                  original purchase, because the consumer may suffer an "actual and
                  imminent, not conjectural or hypothetical" threat of future harm.
    6
        Davidson v. Kimberly-Clark Corp., 873 F.3d 1103, 1115 (9th Cir. 2017). The Ninth
    7
        Circuit reasoned that “Knowledge that the advertisement or label was false in the
    8
        past does not equate to knowledge that it will remain false in the future. In some
    9
        cases, the threat of future harm may be the consumer's plausible allegations that she
   10
        will be unable to rely on the product's advertising or labeling in the future, and so
   11
        will not purchase the product although she would like to.” Id.
   12
                  That is exactly the posture in which Plaintiffs find themselves with respect
   13
        to Defendants products. Plaintiffs have alleged that they would like to purchase the
   14
        soaps again in the future, but will not because they cannot rely on Defendant’s
   15
        representations that the soaps are natural. SAC ¶¶ 9 and 11.
   16
                  Defendants attempt to distinguish Davidson by arguing that Plaintiffs could
   17
        determine the truth or falsity of future representations just by looking at the
   18
        ingredients. Def. Mem. 21. First, this argument has been thoroughly rejected in the
   19
        12(b)(6) context, because reasonable consumers are not expected to scour a label to
   20
        ensure that product representations are not false. See Williams v. Gerber Prods. Co.,
   21
        552 F.3d 934, 939 (9th Cir. 2008) ("We do not think that the FDA requires an
   22
        ingredient list so that manufacturers can mislead consumers and then rely on the
   23
        ingredient list to correct those misinterpretations and provide a shield for liability for
   24
        the deception."). Second, even if a consumer were to search the Products’
   25
        packaging and find the ingredient list, it does not clarify which ingredients are
   26
        natural and which are synthetic, and thus consumers still would not know the true
   27
        nature of the Products, especially since such a determination requires a knowledge
   28

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    1 of chemistry not expected in a reasonable consumer. SAC ¶ 29. Finally, this case is

    2 not about misrepresentations in the ingredients lists. It is about characterizing those

    3 ingredients as “natural” when no reasonable consumer would consider them as such.

    4             Defendants also contend that the facts of this case fall outside the logic of
    5 Davidson because Plaintiffs allege that they would only purchase hypothetical Grisi

    6 Products that actually contain exclusively natural ingredients. Def. Mem. 21. But,

    7 this is precisely the kind of allegation that the Ninth Circuit in Davidson found to

    8 constitute imminent harm. Davidson, 889 F.3d at 970. The plaintiff in Davidson
    9 said that she "would purchase truly flushable wipes manufactured by [Defendant] if

   10 it were possible" Id. Thus, per Davidson, the fact that Plaintiffs will only buy the

   11 product again if the misrepresentation is corrected by changing the product does not

   12 strip them of standing to pursue injunctive relief.

   13

   14
                      5.   The Court Has Jurisdiction Over Plaintiffs’ Magnuson-Moss
                      Claims
   15
              Defendants next argue that Plaintiffs have not met the jurisdictional
   16
        requirements of the MMWA, including the requirements that individual claims must
   17
        exceed $25, products must cost more than $5 and there must be over 100 plaintiffs.
   18
        Def. Mem. at 14-15. However, as this Court recognized in Harris v. CVS Pharmacy,
   19
        jurisdiction is conferred separately and independently by the Class Action Fairness
   20
        Act. Harris, 2015 U.S. Dist. LEXIS 104101, at *22-23 (Birotte, J.); SAC ¶ 5; see
   21
        also Keegan v. Am. Honda Motor Co, 838 F. Supp. 2d 929, 954, (C.D. Cal. Jan 6,
   22
        2012) (collecting cases concluding that the jurisdictional requirements of MMWA are
   23
        satisfied when plaintiffs properly invoke jurisdiction under CAFA).
   24

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    1
                C. Plaintiff’s Have Adequately Pleaded Their Causes of Action
                      1.       Plaintiffs’ Misrepresentation Claims Should be Upheld
    2
              Defendants contend that no reasonable consumer could possibly believe that a
    3
        package labeled “Natural soap” could contain soap that is composed of natural, i.e.,
    4
        nonsynthetic, ingredients. Def. Mem. at 9-13. This argument “is at odds with basic
    5
        logic.” Jou v. Kimberly-Clark Corp., 13-civ-03075, 2013 U.S. Dist. LEXIS 173216,
    6
        at *31 (N.D. Cal. Dec. 10, 2013).
    7
              In any case, such arguments are not suited for disposition on a 12(b)(6) motion.
    8
        See Astiana v. Hain Celestial Grp., Inc., No. 12-17596, 2015 U.S. App. LEXIS 5833,
    9
        at *10-11 (9th Cir. Apr. 10, 2015) (reversing a district court decision to dismiss a
   10
        consumer fraud action against a manufacturer for its personal care products that
   11
        claimed to be “all natural” or “pure natural”); Vicuna v. Alexia Foods, Inc., No. 11-
   12
        civ-6119, 2012 U.S. Dist. LEXIS 59408 at * 5 (N.D. Cal. Apr. 27, 2012) (meaning of
   13
        term “All Natural” to reasonable consumer cannot be decided on motion to dismiss);
   14
        Morales v. Unilever U.S., Inc., CIV. 2:13-2213 WBS E, 2014 U.S. Dist. LEXIS
   15
        49336, *22-23 (E.D. Cal. Apr. 9, 2014) (denying motion to dismiss claims involving
   16
        shampoos and conditioners labeled “naturals”); Fagan v. Neutrogena Corp., Civ. No.
   17
        5:13–1316 SVV OP, 2014 U.S. Dist. LEXIS 2795, at *4 (C.D. Cal. Jan. 8, 2014)
   18
        (denying motion to dismiss when defendant claimed that its sunscreen was “100%
   19
        naturally sourced”); Brown v. Hain Celestial Grp., Inc., 913 F. Supp. 2d 881, 899
   20
        (N.D. Cal. 2012) (denying motion to dismiss challenge to face- and body products
   21
        labeled pure, natural and organic).
   22
              With respect to the label itself, and contrary to Defendants’ argument, avoiding
   23
        phrases such “100% natural” or “all natural” do not insulate it from liability. Def.
   24
        Mem. at 17. See e.g, Brenner v. Proctor & Gamble Co., No. 15-civ-1093, 2016 U.S.
   25
        Dist. LEXIS 187303, *12-15 (C.D. Cal. Oct. 20, 2016) (denying motion to dismiss
   26
        “natural” misrepresentations claims under California law because there is not “a
   27
        bright-line rule holding that “natural” claims without “100%” or “all” can never be
   28

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    1 actionable”); Aguiar v. Merisant Co., No. 14-civ-00670, 2014 U.S. Dist. LEXIS

    2 165301 at *10 (C.D. Cal. March 24, 2014) (finding that allegations that ingredients

    3 isomaltulose and dextrose were “synthetic” as term used in dictionary required “no

    4 further factual enhancements” to state claim); Jou, 2013 U.S. Dist. LEXIS 173216, at

    5 *5-8 (claim stated where plaintiff alleged "pure & natural” product contained

    6 polypropylene and sodium polyacrylate); Brown, 913 F. Supp. 2d at 898 (denying

    7 motion to dismiss when defendant claimed that various cosmetic products were "pure,

    8 natural, and organic").
    9        Case law supporting Defendant’s position is relatively sparse and involves fact
   10 patterns that are extreme. For example, Defendants cite Pelayo v Nestle USA, Inc.,

   11 989 F. Supp. 2d 973 (C.D. Cal. 2013) in support of its argument that no reasonable

   12 consumer would expect the soap to be natural just because the package said so. Def.

   13 Mem. at 12. Pelayo’s conclusion supports Defendants’ argument here, but Pelayo

   14 has been soundly rejected by other courts. See, e.g., Jou, 2013 U.S. Dist. LEXIS

   15 173216, at *31-32 (holding that Pelayo “is at odds with basic logic, contradicts the

   16 FTC statement on which it relies, and appears in conflict with the holdings of many

   17 other courts, including the Ninth Circuit. This Court accordingly declines to follow

   18 Pelayo’s holding.”); Segedie v. Hain Celestial Grp., Inc., No. 14-civ-5029 (NSR),

   19 2015 U.S. Dist. LEXIS 60739 at *30-31(S.D.N.Y. 2015) (distinguishing Pelayo and

   20 holding that “it is enough that Plaintiffs allege that ‘natural’ communicates the

   21 absence of synthetic ingredients. Ultimately, the question is one of reasonableness,

   22 which cannot be resolved on a Rule 12(b) (6) motion.”).

   23        Defendants’ other cases, including Barrett v. Milwaukee Elec. Tool, Inc., No.
   24 14-1804 JAH, 2016 U.S. Dist. LEXIS 122688 (S.D. Cal. Jan 26, 2016) and In re 100%

   25 Parmesan Cheese Mktg & Sales Practices Litig. 275 F. Supp. 3d 910 (N.D. Ill. 2017)

   26 (Def. Mem. at 17) do not involve “natural” representations and offer little assistance.

   27

   28

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    1         In sum, the great majority of courts have found that allegations similar to those
    2 of the Plaintiffs’ are sufficient to state a claim.

    3

    4
                      2.       Plaintiffs’ Allegations Satisfy the Requirements of Rule 9(b)
              The SAC satisfies the pleading requirements of Rule 9(b) by setting forth “the
    5
        who, what, when, where and how of the misconduct charged.” Vess v. Ciba-Geigy
    6
        Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (internal quotation marks omitted).
    7
        Per the SAC, Defendants Midway and Grisi USA (who) (SAC ¶¶ 12 and 14) market
    8
        soap as “Natural” when it actually contains synthetic ingredients (what) (SAC ¶¶ 2,
    9
        23-25) which Plaintiff Prudencio purchased on approximately 10 occasions in 2016
   10
        and 2017 at a Walmart in Santa Ana, California, and Plaintiff Quintero purchased on
   11
        several occasions between November 2016 and April 2017 at a Walmart in Rosemead,
   12
        California (when, where) (SAC ¶¶ 8-13) in reliance on the “natural”
   13
        misrepresentation, causing Plaintiffs to suffer economic loss as a result (how) (SAC
   14
        ¶¶ 3, 32,36). Courts have held that similar allegations satisfied Rule 9(b)’s heightened
   15
        pleading standard. See, e.g., In re ConAgra Foods, Inc., 908 F. Supp. 2d 1090, 1100
   16
        (C.D. Cal. 2012).
   17
                 Defendants’ principal argument that Plaintiffs have not satisfied 9(b) is
   18
        simply a rehash of the claim that reasonable consumers cannot not interpret the
   19
        labeling to mean that the Products contain 100 percent natural ingredients. Def.
   20
        Mem. at 8-9. But, as noted in Section II.C.1, supra, numerous courts have held that
   21
        reasonable consumers can expect “natural” products to be entirely natural.
   22
        Moreover, the SAC specifically identifies each of the synthetic ingredients in the
   23
        Products, and explains in detail why a reasonable consumer would consider them
   24
        synthetic and not natural. SAC ¶¶ 23-26.
   25
              Further, contrary to Defendants’ argument, the SAC does allege that the
   26
        Plaintiffs are “consumers” within the meaning of the CLRA. SAC ¶ 68. And, how
   27
        Plaintiffs came to learn of the misrepresentations is not an element of any of Plaintiffs’
   28

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    1 claims. Def. Mem. at 9. Finally, while Defendants argue that Plaintiffs have not

    2 pleaded an injury with the requisite particularity (Def. Mem. at 9), Plaintiffs have

    3 alleged that they paid more for the Products than they otherwise would have based on

    4 Defendants’ “natural” misrepresentation. SAC ¶ 9 and 11. This assertion is all that is

    5 needed to satisfy Rule 9(b). See Gregorio v. Clorox Co., No. 17-cv-03824-PJH, 2018

    6 U.S. Dist. LEXIS 19542, *16 (N.D. Cal. Feb 6, 2018) (rejecting defendant’s argument

    7 that 9(b) required specific factual allegations about the dollar amount plaintiffs paid

    8 for each product to allege a price premium injury).
    9

   10
                      3.  Plaintiffs Have Stated Claims for Breach of Express
                      Warranty under California law.
   11
              Defendants next attack Plaintiffs’ warranty claims on grounds similar to those
   12
        upon which it bases its arguments against Plaintiffs’ statutory claims. That is,
   13
        Defendants contend that it is unreasonable for consumers to interpret the label to mean
   14
        that the Products are natural. Def. Mem. at 13.
   15
              Under California law, “To state a claim for breach of express warranty, a
   16
        plaintiff must allege facts sufficient to show that (1) the seller’s statements constitute
   17
        an affirmation of fact or promise or a description of the goods; (2) the statement was
   18
        part of the basis of the bargain; and (3) the warranty was breached.” Vicuna, 2012
   19
        U.S. Dist. LEXIS 59408,*5; Weinstate v. Dentsply Int’l., Inc., 180 Cal. App 4th 1213,
   20
        1227 (2010). Defendants’ “Natural soap” statement is just such an “affirmation of
   21
        fact.” See Parker v. J.M. Smucker Co., No. C 13-0690 SC, 2013 U.S. Dist. LEXIS
   22
        120374, *20 (N.D. Cal. Aug 23, 2013) (holding that “all natural” was an express
   23
        warranty and not mere puffery); Vicuna, 2012 U.S. Dist. LEXIS 59408 at *6 (“All
   24
        Natural” designation was a “statement of fact” and constituted express warranty).
   25
              McKinniss v. General Mills, Inc., No. CV 07-2521 GAF (FMOx), 2007 U.S.
   26
        Dist. LEXIS 96107 (C.D. Cal. Sept. 18, 2007), which Defendants cite for the
   27
        proposition that the Product labeling is not misleading if consumers read the
   28

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    1 ingredient lists (Def. Mem. at 14), has been distinguished and limited by subsequent

    2 decisions in this Circuit. See, e.g. Madenlian v. Flax USA Inc., SACV 13-01748 JVS

    3 (JPRx), 2014 U.S. Dist. LEXIS 181473, *14 (C.D. Cal. March 31, 2014) (finding

    4 McKinniss inapposite because it involved products in which the allegedly deceptive

    5 labeling was not in fact inconsistent with the ingredients of the products at issue);

    6 Brown, 913 F. Supp. 2d at 899 (distinguishing McKinniss from an “organic” label

    7 representation); Lam v. Gen. Mills, Inc., 859 F. Supp. 2d 1097, 1105 (N.D. Cal. 2012)

    8 (declining to follow McKinniss because it was inconsistent with the 9th Circuit’s
    9 holding in Williams v. Gerber that consumers are not required to clarify

   10 misrepresentations by reading the ingredient list).

   11         Defendants’ arguments regarding express warranty thus fail for the same reason
   12 as its arguments on Plaintiffs’ statutory claims: reasonable consumers can interpret

   13 “Natural Soap” as an affirmation of fact that the Products are entirely natural.

   14

   15
                      4.  Plaintiffs Have Stated Claims for Breach of Implied
                      Warranty Under California Law
   16
              California recognizes the implied warranty of merchantability in its
   17
        Commercial Code. Cal. Com. Code § 2314. The language tracks that of the
   18
        Uniform Commercial Code, establishing particular attributes of “merchantable”
   19
        goods, among them, that they be fit for their ordinary purposes. Cal. Com. Code
   20
        § 92314(2)(c); UCC § 2-314. Also required, however, is that goods are warranted to
   21
        “conform to the promises or affirmations of fact on made on the container or label,
   22
        if any.” Cal. Com. Code § 2314(f), UCC § 2-314(f). Here, Plaintiffs have alleged
   23
        that the soaps do not conform with the “promise or affirmation of fact” that the
   24
        soaps are natural. Accordingly, they have stated a claim for breach of implied
   25
        warranty of merchantability under California law.
   26
              Defendants contend that California law requires vertical privity. Def. Mem.
   27
        16. While this is true, courts in this Circuit recognize an exception where plaintiff is
   28

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    1 a third-party beneficiary to a contract that gives rise to the implied warranty. See

    2 Bryde v. General Motors, No. 16-cv-02421-WHO, 2016 U.S. Dist. LEXIS 159707,

    3 * 46 (N.D. Cal. Nov. 17, 2016); In re Toyota, 754 F. Supp. 2d 1145, 1184-85 (C.D.

    4 Cal. 2010). Plaintiffs are third-party beneficiaries of the contract between the

    5 Defendants and the retailers Plaintiffs purchased the Products from. See Michael v.

    6 Honest Co., No. LA CV15-07059 JAK (AGRx), 2016 U.S. Dist. LEXIS 189116,

    7 *75 (C.D. Cal. Dec. 6, 2016) (holding that consumers of defendant’s soap,

    8 sunscreen, and diaper products were third-party beneficiaries of the contract
    9 between the manufacturer and retailers). Thus, vertical privity is not required in this

   10 case, and Plaintiffs state a claim for breach of implied warranty under California

   11 law. Id.

   12
                      5.   Plaintiffs’ Magnuson-Moss Warranty Claim Should not be
                      Dismissed
   13
               Next, Defendants argue that their “Natural soap” label is not a warranty under
   14
        the MMWA. While the MMWA provides a federal class action remedy for express
   15
        and implied breach of warranty claims, it “merely incorporates and federalizes state-
   16
        law breach of warranty claims”. Brady v. Basic Research, L.L.C., 101 F. Supp. 3d
   17
        217, 234 (E.D.N.Y. 2014) (citations and quotations marks omitted). Therefore, “th[e]
   18
        disposition of [] state law warranty claims determines the disposition of the
   19
        Magnuson-Moss Act claims.” Abraham v. Volkswagen of Am., Inc., 795 F.2d 238,
   20
        249 (2d Cir. 1986) (holding that state law governs implied warranty claims under the
   21
        MMWA). Since Plaintiffs have adequately pleaded their express and implied warranty
   22
        claims, their Magnuson-Moss claims should not be dismissed.
   23

   24                 6.    Plaintiffs’ Claim for Violation of State Consumer Protection
   25
                      Statutes Should Not Be Dismissed
              Defendants next contend that Plaintiffs’ allegations of violations of various
   26
        state consumer protection laws (Count 5) should be dismissed because it is not
   27
        pleaded with particularity under Rule 9(b). Def. Mem. at 13. This argument is
   28

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    1 misplaced. As described in Section II.B.2, supra, Plaintiffs have pleaded the “who,”

    2 “what,” “when,” “where,” and “how” of Defendants’ misconduct.                               Contrary to
    3 Defendants’ argument, Plaintiffs are not required to tie Defendants’ actions to the

    4 violations of the state consumer protection statutes, but are only required to plead

    5 sufficient facts to state a claim for relief. See Allen v. ConAgra Foods, Inc., No. 13-

    6 cv-01279-JST, 2013 U.S. Dist. LEXIS 125607, *35 (N.D. Cal. Sept. 2, 2013).

    7 Plaintiffs have described Defendants’ deceptive conduct with particularity, and

    8 therefore Count 5 should not be dismissed. Id. (declining to dismiss cause of action
    9 alleging violations of 48 state consumer protection statutes).

   10

   11                  D.     Plaintiffs’ Claims Should not be Stayed
   12        Defendants’ argument that the case should be stayed and deferred to the
   13 primary jurisdiction of the FDA (Def. Mem. at 23) should be rejected for two reasons.

   14        First, since this case involves soap, not food products, it does not warrant
   15 application of the primary jurisdiction doctrine. For example, the court in Petrosino

   16 v. Stearn’s Products, Inc., No. 7:16-cv-007735-NSR, 2018 U.S. Dist. LEXIS 55818,

   17 *30 (S.D.N.Y. March 30, 2018) found that (“[T]he FDA’s definition of ‘natural’ with

   18 regards to human food products would not be particularly helpful. As instructive as

   19 that definition may be, it ultimately involves a significantly different subject matter,

   20 namely, food products instead of cosmetics.”). The FDA has explicitly and

   21 affirmatively declined to make a determination regarding the term “natural” in

   22 cosmetic or personal care labeling, and thus a stay would be unwarranted and

   23 inappropriate. See Astiana v. Hain Celestial Grp., Inc., No. 11-civ-6342, 2015 U.S.

   24 Dist. LEXIS 138496, *2 (N.D. Cal. Oct. 9, 2015) (ruling that a letter by the FDA

   25 explicitly shows that the “agency is aware of but has expressed no interest in the

   26 subject matter of the litigation” (i.e., “natural” within the context of cosmetic

   27 labeling).

   28

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    1     Second, contrary to Defendants’ argument, Def. Mem. at 23, resolution of the
    2 issues in this case do not require the FDA’s expertise. Here, “‘[t]his case is far less

    3 about science than it is about whether a label is misleading,’ and the reasonable-

    4 consumer inquiry upon which some of the claims in this case depend is one to which

    5 courts are eminently well suited, even well versed.” Jones v. ConAgra Foods, Inc.,

    6 912 F. Supp. 2d 889, 898 (N.D. Cal. 2012)). Therefore, “[d]etermining whether a

    7 reasonable consumer acting reasonably would find the term ‘natural’ deceptive when

    8 a product contains both natural and synthetic ingredients is a question this Court and
    9 Jury are well suited to entertain.” Petrosino, 2018 U.S. Dist. LEXIS 55818, at *29.

   10                  III. CONCLUSION
   11        For the reasons stated above, Defendants’ motion should be denied in its
   12 entirety.

   13 Dated:         November 7, 2018
   14                                                    Respectfully Submitted,
   15
                                                         By /s/    David R. Shoop
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   27
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    1                                  Local Rule 5-4.3.4 Certification
    2             I hereby attest that all other signatories listed, on whose behalf this filing is
    3     submitted, concur in the filing’s content and have authorized this filing.
    4                                                                                    /s/
    5                                                                           David R. Shoop
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